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     EDGAR CARRANZA, ESQ.
 1   Nevada Bar No. 5902
 2   TIFFANIE C. BITTLE, ESQ.
     Nevada Bar No. 15179
 3   MESSNER REEVES LLP
     8945 West Russell Road, Suite 300
 4   Las Vegas, Nevada 89148
 5   Telephone: (702) 363-5100
     Facsimile: (702) 363-5101
 6   ecarranza@messner.com
     tbittle@messner.com
 7   Attorneys for Defendants
 8   ASSEMBLIES OF GOD, NORTHERN CALIFORNIA AND
     NEVADA DISTRICT COUNCIL, INC., DAVID L. CHILDERS,
 9   BRET L. ALLEN and JAY A. HERNDON
10                                UNITED STATES DISTRICT COURT
11
                                      DISTRICT OF NEVADA
12
13   BRUCE A. MORRIS, an individual, CITY            CASE NO.: 2:24-cv-00362-MMD-EJY
14   COMMUNITY CHURCH INC., fka
     CALVARY COMMUNITY ASSEMBLY OF
15   GOD, INC., a Nevada Corporation; TOM
     LUKER, individually and on behalf of all
16   those similarly situated; REYNALDO                   STIPULATION AND ORDER TO
     MONTENEGRO, individually and on behalf               STAY DISCOVERY PENDING COURT
17
     of all this similarly situated,                      DISPOSITION OF DEFENDANTS’
18                                                        MOTION FOR JUDGMENT ON THE
                    Plaintiffs,                           PLEADINGS
19   vs.
                                                          (First Request to Stay)
20
     THE GENERAL COUNCIL OF THE
21   ASSEMBLIES OF GOD, a Foreign
     Corporation; ASSEMBLIES OF GOD,
22   NORTHERN CALIFORNIA AND NEVADA
     DISTRICT COUNCIL, INC., a Foreign
23
     Corporation; DAVID L. CHILDERS, an
24   individual; BRET L. ALLEN, an individual;
     JAY A. HERNON, an individual; DOE
25   Individuals I through X, and Roe Companies I
     through X, inclusive,
26
27                Defendants.

28                                          Page 1 of 5
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            Plaintiffs, BRUCE A. MORRIS, CITY COMMUNITY CHURCH INC., fka CALVARY
 1
 2   COMMUNITY ASSEMBLY OF GOD, INC., TOM LUKER, and REYNALDO MONTENEGRO,

 3   (collectively referred to herein as “Plaintiffs”), by and through counsel, Francis Arenas, Esq. and
 4   Alexander Adrian, Esq. of Olson Cannon & Gormley, and Defendant, THE GENERAL COUNCIL
 5
     OF THE ASSEMBLIES OF GOD, ASSEMBLIES OF GOD (hereinafter referred to as the “General
 6
     Council”), by and through its counsel, John S. Delikanakis, Esq. and Erin Gettel, Esq. of Snell &
 7
 8   Wilmer LLP and Defendants, NORTHERN CALIFORNIA AND NEVADA DISTRICT COUNCIL,

 9   INC., DAVID L. CHILDERS, BRET L. ALLEN, and JAY A. HERNDON (collectively referred to
10   as the “District Council Defendants”), by and through counsel, Edgar Carranza, Esq. and Tiffanie
11
     Bittle, Esq. of MESSNER REEVES, LLP, hereby stipulate stay all discovery activities and related
12
     deadlines pending the resolution of Defendants’ Motion for Judgment on the Pleadings as follows:
13
14          WHEREAS, the Defendants, General Council and District Council Defendants filed a Joint
15   Motion for Judgment on the Pleadings on May 9, 2024, which has not yet been set for hearing;
16
            WHEREAS, the Defendants’ Joint Motion for Judgment on the Pleadings could potentially
17
18   resolve the entire case as to all Parties, making any discovery conducted prior to such resolution a

19   waste of time and resources;
20
            WHEREAS, the Parties wish to avoid incurring the significant effort and expense that moving
21
     forward with formal discovery would require pending the hearing and decision regarding Defendants’
22
23   Joint Motion for Judgment on the Pleadings; and

24          WHEREAS, the Parties agree that good cause exists for the entry of the foregoing Stipulation
25
     and Order.
26
            THEREFORE, the Parties hereby stipulate and agreed as follows:
27
28                                              Page 2 of 5
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            1.      Plaintiffs filed their Amended Renewed Class Action Complaint on January 30, 2024,
 1
 2   in the Eighth Judicial District Court.

 3          2.      On February 23, 2024, Defendants filed their Joint Petition for Removal of this action
 4   to this Court for federal question jurisdiction pursuant to 28 U.S.C. 1331, 1441 and 1446 [Doc No.
 5
     1]. Plaintiffs did not oppose this petition.
 6
            3.      On March 6, 2024, this Court entered a Stipulation and Order to Extend the Time for
 7
 8   Defendants to Answer Plaintiffs’ Amended Complaint [Doc. No. 12].

 9          3.      On April 15, 2024, Defendants Assemblies of God, Northern California and Nevada
10   District Council, Inc., David L. Childers, Bret L. Allen, and Jay A. Herndon filed their Answer to
11
     Plaintiffs’ Amended Renewed Class Action Complaint [Doc No. 19].
12
            4.      Also on April 15, 2024, Defendant, The General Council of the Assemblies of God
13
14   filed its Answer to Plaintiffs’ Amended Renewed Class Action Complaint [Doc No. 20].

15          5.      On May 9, 2024, Defendants filed a Joint Motion for Judgment on the Pleadings [Doc.

16   No. 23].
17
            6.      On May 23, 2024, Plaintiffs filed an Opposition to Defendants’ Joint Motion for
18
     Judgment on the Pleadings [Doc. No. 24].
19
            7.      The briefing schedule on Defendants’ Joint Motion for Judgment on the Pleadings has
20
21   not yet been completed and no hearing has been set by this Court to consider the same.

22          8.       The Parties have not yet completed the mandatory FRCP 26(f) conference and
23
     discovery has not yet begun; therefore, no discovery deadlines or trial date have yet been set.
24
            9.      The Parties therefore stipulate and agree to stay discovery pending the order disposing
25
     of Defendants’ Joint Motion for Judgment on the Pleadings.
26
27          10.     The Parties further stipulate and agree that within 14 days of the entry of the order

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     regarding Defendants’ motion, if this matter is not fully disposed of as to all claims and parties
 1
 2   following the resolution of Defendants’ Joint Motion for Judgment on the Pleadings, the remaining

 3   Parties shall complete the mandatory FRCP 26(f) Conference and submit the proposed Joint
 4   Discovery Plan and Scheduling Order for this Court’s consideration.
 5
            11.    Thereafter, the Parties will resume the regular discovery procedure and comply with
 6
     all deadlines and requirements.
 7
 8          12.    The Parties further request a hearing before this Court so that the Court and the Parties

 9   can determine the most efficient manner to proceed.
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28                                              Page 4 of 5
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     DATED this 31st day of May, 2024.                         DATED this 31st day of May, 2024.
 1
        MESSNER REEVES LLP                                     SNELL & WILMER LLP
 2
 3
     By: /s/ Edgar Carranza                               By: /s/ John Delikanakis
 4      Edgar Carranza, Esq.                                 John S. Delikanakis, Esq.
        Nevada Bar No. 5902                                  Nevada Bar No. 5928
 5      Tiffanie C. Bittle, Esq.                             Erin Gettel, Esq.
 6      Nevada Bar No. 15179                                 Nevada Bar No. 13877
        8945 West Russell Road, Suite 300                    3883 Howard Hughes Parkway, Suite 1100
 7      Las Vegas, NV 89148                                  Las Vegas, NV 89169
        702-363-5100                                         (702) 784-5200
 8      Attorneys for Defendants Northern                    Attorneys for Defendant The General
        California, Nevada District                          Council of the Assemblies of God
 9      Council, Inc., David L. Childers,
        Bret L. Allen and Jay A. Hernon
10
11   DATED this 31st day of May, 2024.

12      OLSON CANNON GORMLEY
13
14   By: /s/ Alexander Adrian
        Francis Arenas, Esq.
15      Nevada Bar No. 6557
        Alexander Adrian, Esq.
16      Nevada Bar No. 15695
        9950 West Cheyenne Avenue
17      Las Vegas, NV 89129
        Telephone: 702 -384-4012
18      Attorneys for Plaintiffs
                                                        ORDER
19
20          IT IS HEREBY ORDERED that the Stipulation to Stay Discovery Pending Court

21   Disposition of Defendants' Motion for Judgment on the Pleadings (ECF No. 27) is GRANTED.

22          IT IS FURTHER ORDERED that discovery is stayed pending the Court's resolution of

23   Defendants' Motion for Judgment on the Pleadings.

24          IT IS FURTHER ORDERED that if the Order addressing Defendants' Motion for Judgment

25   on the Pleadings does not resolve this case in its entirety, the parties must file a proposed discovery
26   plan and scheduling order within 14 days after such Order is issued.
27
28                                                 _______________________________________
                                                   UNITED STATES MAGISTRATE JUDGE

                                                   Dated: May 31, 2024
                                                 Page 5 of 5
